Case 2:15-cv-01654-JAK-AJW Document 68 Filed 10/21/16 Page 1 of 1 Page ID #:912




    1

    2

    3

    4

    5

    6

    7                         UNITED STATES DISTRICT COURT
    8
                             CENTRAL DISTRICT OF CALIFORNIA
    9

   10   JASON FEOLA, individually and on                Case No: 15-cv-1654 JAK (AJWx)
        behalf of all others similarly situated,
   11                                                   JUDGMENT
   12                Plaintiff,
                                                        J-S 6
   13         vs.
   14   EDWARD R. CAMERON, et al.,
   15
                     Defendants.
   16

   17      IT IS HEREBY ORDERED, ADJUDGED AND DECREED that judgment
   18
        is entered in favor of defendants with respect to all claims made in the Second
   19
        Amended Complaint. Plaintiffs shall recover nothing from defendants, and the
   20

   21   actions is dismissed with prejudice.
   22
              IT IS SO ORDERED
   23
        DATED: October 21, 2016
   24

   25                                              ___________________________________
                                                   HON. JOHN A. KRONSTADT
   26
                                                   UNITED STATES DISTRICT JUDGE
   27

   28

                                                    1
